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Connecticut Local Form Chapter 13 Plan 01/04/2019

 

Fill in this information to identify your case:

Debtor 1*

Debtor 2*
Spouse, if filing

(if known}

 

Case number

UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

 

Margaret

 

Greene

 

 

 

 

 

 

First Name Middle Name Last Name

Social Security Number: XXX - XX -

(Enter only last 4 digits} CHAPTER 13 PLAN

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
Social Security Number: XXX - XX-[ ][ ][][7]

(Enter only last 4 digits)

 

 

19-31097

 

 

*For purposes of this Chapter 13 Plan, "Debtor" means "Debtors" where appticable.

 

 

(m]

Original Plan

To Debtors:

Plans that do not comply with local rules and judicial rulings may not be confirmable.
All plans, amended plans and modified plans shall be served upon all creditors by the
Debtor and a certificate of service shall be filed with the Clerk.

"Collateral" as used in this Chapter 13 Plan means the property securing a claim. |

If the Debtor intends to determine the secured status of a claim pursuant to [1 U.S.C. §
506, or if the Debtor intends to avoid the fixing of a lien that impairs the Debtor's
exemption pursuant to 1] U.S.C. § 522(f), then the Debtor must do two things: (1)
indicate the Debtor's intention in this Chapter 13 Plan in the space below; and (2) file a
separate motion pursuant to 1] U.S.C. § 506 or 11 U.S.C, § 522(f following the
Contested Matter Procedure or local rules adopted after December 1, 2017. If a separate
motion is not filed then the Debtor will not be entitled to relief pursuant to 11 U.S.C. §
506 or 11 U.S.C. § 522(f).

The Debtor must check the appropriate box (Included or Not Included) in the chart
below. If an item is checked as "Not Included," or if both boxes are checked, the
provision will be ineffective if later set out in this Chapter 13 Plan.

 

 

 

 

 

 

The valuation of a secured claim pursuant to 11 U.S.C. § 506, set out in Not

Section 3.2, which may result in a partial payment or no payment at alito i(] Included | [mj
Included

the secured creditor.

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security C1 tnchided | fm Not

interest pursuant to 11 U.S.C. § 522(f), set out in Section 3.3. Included

Assumption or rejection of executory contracts or unexpired leases pursuant Not

to 11 U.S.C. § 365, set out in Section VI. LJ Included | [wl Included

 

 
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To Creditors: Your rights may be affected by this Chapter 13 Plan. You must file a timely proof of
claim in order to be paid. See Fed.R.Bankr.P. 3002. Your claim may be modified or
eliminated. You should read this Chapter 13 Plan carefully and discuss it with your

attorney if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you oppose the Chapter 13 Plan's treatment of your claim or any provision of this
Chapter 13 Plan, you or your attorney must file an objection to confirmation no later
than 7 days before the date set for confirmation of the Chapter 13 Plan, unless
otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this
Chapter 13 Plan without further notice if no objection to confirmation is filed. See
Fed.R.Bankr.P. 3015.

 

This Chapter 13 Plan does not allow claims. The fact that your claim is classified in this
Chapter 13 Plan does not mean that you will receive payment.

 

To All The Chapter 13 Plan contains no non-standard provisions other than those set out in
Parties: Section VIL. The Debtor must check one box in the chart below indicating whether any
non-standard provision is Included or Not Included in Section VII of this Chapter 13
Plan.
Non-standard provisions, set out in Section VII, [m] Included |] Not
> Included

 

 

 

 

 

    

PLAN PAYMENTS AND LENGTH OF PLAN

The Debtor shall submit all or such portion of future earnings or other future income of the Debtor to
the supervision and control of the Chapter 13 Standing Trustee as is necessary for the execution of this

Chapter 13 Plan as required by 11 U.S.C. § 1322(a)(1). Payments by the Debtor will be made as set
forth in this Section IT,

2.1 Payments to Chapter 13 Standing Trustee,
The Debtor will make payments to the Chapter 13 Standing Trustee as follows:

 

 

 

§ 618.00] perlmonth for |60 months.

 

 

 

 

 

 

 

 

 

If fewer than 60 months of payments are specified, additional monthly payments may be made to
the extent necessary to make the payments to creditors specified in this Chapter 13 Plan.

 

 

 

2.2 Source of Payments to the Chapter 13 Standing Trustee.
Check all that apply.

[1] The Debtor will make payments pursuant to a payroll deduction order.
(§] The Debtor will make payments directly to the Chapter 13 Standing Trustee at the following
address (include case number on payment):
Roberta Napolitano, Chapter 13 Standing Trustee
PO Box 610
Memphis, TN 38101-0610

2.3 Income Tax Refunds.
Check one.

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[=] The Debtor will retain any income tax refunds received during the plan term. Note the Chapter
13 Standing Trustee may reduce the Debtor's deduction for payment of taxes in calculating
disposable income if this option is selected.

C The Debtor will supply the Chapter 13 Standing Trustee with a copy of each income tax return
filed during the plan term within 14 days after filing the return and will turn over to the
Chapter 13 Standing Trustee all income tax refunds received during the Chapter 13 Plan term.

(J The Debtor will treat income tax refunds as follows:

2.4 Additional Payments,
Check one.

(m] None. If “None” is checked, the rest of this subpart need not be completed or reproduced

2.5 Estimated Total Payments.

The estimated total payments to be made by the Debtor under this Chapter 13 Plan to the Chapter
13 Standing Trustee is:

$ 37,080.00

 

 

 

 

2.6 Order of Payments to Creditors by the Chapter 13 Standing Trustee

Payments by the Chapter 13 Standing Trustee to classes of claims shall be made in the following
order:

 

 

Administrative first; then priority; then secured and then unsecured

 

 

The Chapter 13 Standing Trustee shall make payments from the funds received from the Debtor
pursuant to this Chapter 13 Plan until satisfaction of all costs of administration, all claims entitled
to priority under 11 U.S.C. § 507, the present value of all allowed secured claims, and payments to
unsecured creditors as provided in this Chapter 13 Plan.

TREATMENT OF SECURED CLAIMS

 

3.1 Secured Claims That Will Not Be Modified.

Secured claims that will not be subject to a valuation motion pursuant to 11 U.S.C. § 506, or to
avoidance pursuant to 11 U.S.C. § 522(f), shall be described in this section. Check all that apply.

[m] None. /f “None” is checked, the rest of this subpart need not be completed or reproduced.
3.2, Secured Claims Subject to Valuation Motion.

fm] None. if “None” is checked, the rest of this subpart need not be completed or reproduced.
3.3 Secured Claims Subject To Avoidance (11 U.S.C, § 522(f)).

[m} None. /f “None” is checked, the rest of this subpart need not be completed or reproduced.
3.4 Surrender of Collateral,

(m) None. /f “None” is checked, the rest of this subpart need not be completed or reproduced.

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. § 507 and 11 U.S.C, Ne ee

      

eG

4.1 Applicability Of Post-Petition Interest.

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The Chapter 13 Standing Trustee's fees and all allowed priority claims, including domestic support
obligations other than those treated in Section 4.4, will be paid in full without post-petition interest.
If the court determines the Debtor is solvent or is to be treated as solvent under this Chapter 13 Plan,
the Court may order post-petition interest be paid on claims.

Please enter the current interest rate to be paid to the IRS if interest is
required to be paid under this Chapter 13 Plan (if the Debtor is being

treated as if solvent): [ %

If this Chapter 13 Plan proposes to pay post-petition interest on priority claims because the Debtor is
being treated as if he or she were solvent, then interest shall be paid, if applicable, as follows: 18%
interest per annum to creditors holding priority and general unsecured, municipal tax claims; 12%
interest per annum to the State of Connecticut Department of Revenue Service's priority and general

unsecured state tax claims; and, % interest per annum to the Interna! Revenue Service's
priority and general unsecured federal tax claims.

4.2 Trustee's Fees.

The Chapter 13 Standing Trustee's fees are governed by statute and may change during the course of
the case but are estimated to be 10% of plan payments.

4.3 Administrative Attorney's Fees. [7] PRO BONO

 

 

 

 

 

 

 

 

 

 

 

 

Total Fees: Total Expenses: Paid Prior to Confirmation: Balance Due:
$1,250.00 $310.00 $0.00 $1,560.00
Total Allowance Sought: | $1,560.00] (Fees and Expenses)
Payable [Check one] {m| Through this Chapter 13 Plan
$1,250.00 _] Outside of this Chapter 13 Plan

 

 

 

Attorneys shall file applications for allowance of compensation and reimbursement of expenses
pursuant to 11 U.S.C. § 330 if the total allowance sought exceeds $4,000.00 before confirmation of
this Chapter 13 Plan, The Court will consider allowance of compensation and reimbursement of
expenses without such an application if the total allowance sought equals or is less than $4,000.00.

4.4 Domestic Support Obligation(s).
[m] None. If “None” is checked, the rest of this subpart need not be completed or reproduced.

4.5 Priority Claims.
[| None. If “None” is checked, the rest of this subpart need not be completed or reproduced.

This Chapter 13 Plan may provide for less than full payment of all claims entitled to priority under
11 U.S.C.§ 507(a)(1)(6) only ifthe Chapter 13 Plan provides that all of the Debtor's projected
disposable income for a 5-year period beginning on the date that the first payment is due under this
Chapter 13 Pian will be applied to make payments under the Chapter 13 Plan. This Chapter 13 Plan
treats claims entitled to priority pursuant to 11 U.S.C. § 507 and 11 U.S.C. § 1322(a){4), as follows:

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1, Name of Creditor: [IRS |

Proof of Claim Number: [|

Total Due: $9,500.00

 

Amount of Principal Due: $0.00

Amount of Interest Due: $0.00

 

 

Interest to be Paid Through Chapter 13 Plan? [] Yes [i] No Interest Rate: 0.00%

 

 

 

 

 

TREATMENT OF UNSECURED NON-PRIORITY CREDITORS

   

5.1. Unsecured Non-Priority Claims, Dividend To Be Paid.

L] None. if “None” is checked, the rest of this subpart need not be completed or reproduced.

Through this Chapter 13 Plan the Debtor proposes to pay the general unsecured creditors
holding claims totaling:

 

 

 

$222,928.00

a dividend of | | | 10.00% | over a period of months,

 

 

ifthe Debtor is being treated as solvent under this Chapter 13 Plan (so that unsecured creditors receive
100% of their claims plus interest), the interest rate to be paid to unsecured, non-tax claims is % per
annum.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

   

[a] None. /f “None” is checked, the rest of this section need not be completed or reproduced.

wal NON-STANDARD PLAN PROVISIONS

|] None. /f “None” is checked, the rest of this section need not be completed or reproduced.

Non-standard provisions must be set forth below, or in an attachment. A non-standard
provision is a provision not otherwise included in the Local Form Chapter 13 Plan or
deviating from it, Non-standard provisions set out elsewhere in this Chapter 13 Plan are void.

 

The Debtor is attempting to modify her loan with Loan Care, Selene Finance for 27 Robert
Street, Hamden, CT. If successful, the Debtor will modify her plan to include sewer and
water. If unsuccessful, Debtor will surrender 27 Robert Street, Hamden, CT to her secured
creditors,

 

 

 

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PURSUANT TO 11 U.S.C. § 1327(b), PROPERTY OF THE ESTATE WILL VEST
IN THE DEBTOR UPON ENTRY OF AN ORDER CONFIRMING THIS CHAPTER 13 PLAN.

I declare that the information set forth in the foregoing Chapter 13 Plan is true and correct and is sworn to
under penalty of perjury. By signing and filing this document each Debtor certifies that the wording
and order of the provisions in this Chapter 13 Plan are identical to those contained in the
Connecticut Local Form Chapter 13 Plan and that this Chapter 13 Plan contains no non-standard
provisions other than those set out in Section VIL.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

/s/ Margaret Greene
(Debtor Signature) (Joint Debtor Signature)
Margaret Greene 7/2/2019
Debtor (Type Name) Date Joint Debtor (Type Name) Date
George C. Tzepos 7/2/2019
Attorney with permission to Date

sign on Debtor's behalf
[Note: Each attorney signature on this document is subject to Fed.R.Bankr.P. 9011.]

Note: An original document with the Debtor's inked signature must be maintained by Debtor's attorney.

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